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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 GWYNNE A. WILCOX,

                        Plaintiff,
                                                          Civil Action No. 25-cv-334
                        v.
                                                          Judge Beryl A. Howell
 DONALD J. TRUMP, in his official capacity
 as President of the United States

 and

 MARVIN E. KAPLAN, in his official
 capacity as Chairman of the National Labor
 Relations Board,

                        Defendants.




                                             ORDER

        Upon consideration of plaintiff’s motion for summary judgment, ECF No. 10,

defendants’ cross motion for summary judgment, ECF No. 23, the legal memoranda in support

and in opposition, and the entire record herein, for the reasons set forth in the accompanying

Memorandum Opinion, it is hereby--

        ORDERED that plaintiff’s motion for summary judgment, ECF No. 10, is GRANTED;

it is further

        ORDERED that defendants’ motion for summary judgment, ECF No. 23, is DENIED; it

is further

        DECLARED that the termination of plaintiff Gwynne A. Wilcox was unlawful, in

violation of the National Labor Relations Act, 29 U.S.C. § 153(a), and therefore null and void; it

is further


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        DECLARED that plaintiff Gwynne A. Wilcox remains a member of the National Labor

Relations Board (“NLRB”), having been appointed by the President and confirmed by the Senate

to a five-year term on September 6, 2023, and she may be removed by the President prior to

expiration of her term only “upon notice and hearing, for neglect of duty or malfeasance in

office, but for no other cause,” pursuant to 29 U.S.C. § 153(a); it is further

        ORDERED that plaintiff shall continue to serve as a member of the NLRB until her term

expires pursuant to 29 U.S.C. § 153(a), unless she is earlier removed “upon notice and hearing,

for neglect of duty or malfeasance in office,” id.; it is further

        ORDERED that defendant Mark Kaplan, as well as his subordinates, agents, and

employees, are ENJOINED, during plaintiff’s term as a member of the NLRB, from removing

plaintiff from her office without cause or in any way treating plaintiff as having been removed

from office, from impeding in any way her ability to fulfill her duties as a member of the NLRB,

and from denying or obstructing her authority or access to any benefits or resources of her office;

it is further

        ORDERED that defendant Mark Kaplan and his subordinates, agents, and employees

provide plaintiff with access to the necessary government facilities and equipment so that she

may carry out her duties during her term as a member of the NLRB; and it is further

        ORDERED that the Clerk of the Court is directed to close this case.

        SO ORDERED.

        Date: March 6, 2025

        This is a final and appealable order.

                                                        __________________________
                                                        BERYL A. HOWELL
                                                        United States District Judge



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